              Case 4:05-cr-40049-JPG                     Document 119 Filed 05/08/06                     Page 1 of 6       Page ID
% A 0 24513   (Kcv. 06/05) Judgment in a Criminal Case
                                                                   #266
              Sheet I



                                         UNITEDSTATESDISTRICT
                                                            COURT
                                                   Southern District of Illinois
          UNI I ED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                              v.
                 KEBECCA S. RILEY                                      Case Number:                        05-40049-003-JIP
                                                                       USM Number:                         XXX-XX-XXXX



THE DEFENDANT:
ixi pleaded guilty to count(s)
-

- pleaded uolo contendere to count(s)
   which was accepted by the court.
- was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended
21 :841(a)(1) & 21:841(b)          Conspiracy to Manufacture & Distribute More Than 500 Grams              June 30,2005              I
(l)(a) and 21346                   of Methamphetamine




       The defendant is sentenced as provided in pages 2 through               6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)

- Count(s)                                                - is   g are dismissed on the motion of the United States.



                                                                        Aoril 28, 2006
                                                                        Date of irnpesja?n of Judgment
                                                                               '
                                                                               ,




                                                                        G. Patrick Murphy. Chief Judee
                                                                        Name and i'11lc of Judge

                                                                                   i

                                                                        Date
             Case 4:05-cr-40049-JPG                    Document 119 Filed 05/08/06                     Page 2 of 6        Page ID
A 0 2458   (Rev. 06/05) Judgment iii Criminal Case
                                                                 #267
           Shecl2 - lmpiironmeni
                                                                                                         Judgment   Pagc ?of          6
1)I;I:I:NDANT:                REBECCA S. RILEY
CASE NIJMlIliR:               05-4004'1-003-JLF



                                                              IMPRISONMENT

           'fie defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total teim of.




     -     The coult makes the followmg reconxnendat~onsto the Bureau of Prisons:




     -
     iE3   'I'he defendant is remanded to the custody of the United States Marshal

     -     The defendant shall surrender to the United States Marshal for this district:

           - at                                      - a.m.     g p.m.        on

           -      as notified by the United States Marshal.

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           - before 2 p.m. on

           - as notified by the United States Marshal.

           - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered                                                             to

 a                                                     , with a celtified copy of this judgment.



                                                                                                      UNITIiD STATES MAIISRAld



                                                                            BY
                                                                                                   DEPUTY IJNl 1 El) STATES MARSHAL
                Case 4:05-cr-40049-JPG                     Document 119 Filed 05/08/06                 Page 3 of 6         Page ID
                                                                     #268
A 0 2458      (Ilcv. 06/05) Judgment in a Ciiniinal Case
              Slicct 3 Supervised Keleasc
                                                                                                          Judgment- Page 3of                    6
DEFENDANT:                      REBECCA S. RILEY
CASE NUMBER:                    05-40049-003-JLF
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

10 years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pr~sons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall sutmit to one drng test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 52 tests in a one year period.
-        The above h g testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
04 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
-
04 Tbe defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
-
- The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)

-        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule oflPayments sheet of this judgment.
     The defendant must comply withthe standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                      STANDARD CONDITIONS OF SUPERVISION

    I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete witten report within the first five days of
           each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a l a h l occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a phys~c~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any perso~onvictedof a
           felony, unless granted permission to do so by the protation officer;
 10)       the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plam view of the probation officer;
  I I)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's crnninal
           record or           history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
           Case 4:05-cr-40049-JPG                     Document 119 Filed 05/08/06   Page 4 of 6   Page ID
                                                                #269
A 0 245B   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supelv~sedIReleaac
                                                                                      Judgment P a g e 4 of   6
DEFENDANT:                REBECCA S. RILEY
CASE NUMBER:              05-40049-003-JLF

                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall pay any financial penalty that is imposed by this judgment, and that
remains unpaid at the commencement of the term of supervised release. The defendant shall
pay the fine in installments of $10.00 per month o r 10% of her net monthly income, whichever
is greater.
The defendant shall provide the probation officer and the Financial Litigation Unit of the
United States Attorneys' Office with access to any requested financial information. The
defendant is advised that the probation office may share financial information with the
Financial Litigation Unit.
The defendant shall apply all monies received from income tax refunds, lottery winnings,
judgments, and/or any other anticipated or unexpected financial gains to the outstanding court-
ordered financial obligation. The defendant shall immediately notify the probation officer of
the receipt of any indicated monies.
The defendant shall participate as directed and approved by the probation officer in treatment
for narcotic addiction, drug dependence, which includes urinalysis or other drug detection
measures and which may require residence and/or participation in a residential treatment
facility. Any participation will require complete abstinence from all alcoholic. The defendant
shall pay for the costs associated with substance abuse counseling and/or testing based on a
co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never
exceed the total costs of counseling.
The defendant shall submit her person, residence, real property, place of business, computer,
o r vehicle to a search, conducted by the United States Probation Offices at a reasonable time
and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition of supervision. Failure to submit to a search may be grounds for
revocation. The defendant shall inform any other residents that the premises may be subject
to a search pursuant to this condition.
             Case 4:05-cr-40049-JPG                          Document 119 Filed 05/08/06                     Page 5 of 6        Page ID
                                                                       #270
A 0 2450                      - in a Criminal Case
           (Re,,. 06105) Judclnent
           Shcel 5 C r i m i n a l M o n c ~ r yPe~ialties
                                                                                                         Judgment - Page 5of
DEFENDANT:                             REBECCA S. RILEY
CASE NUMBER:                           05-40049-003-JLF
                                                     CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments oil Sheet 6.

                         Assessment                                           -
                                                                              Fine                                Restitution
TOTALS              $    100.00                                             $ 875.00                           $ NIA



0
-
     1 h e determination of restitution is deferred until      -. An Amended Ju~lglgmentin a Criminal Cuse(A0 245C) will be entered
     after such determination.

-    The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, uiiless specified otherwise in
     the priority order or percentage payment columngelow. I-rowever, pursua~ltto 18 8 s . E . 5 366481, all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                        Total Loss*                       Restitution Ordered                 Prioritv or Percentaee




TOTALS                                    $                           0           $                           0


-     Restitution amount ordered pursuant to plea agreement $

-     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 1$ 3612(g).

 m
 -    The coutt determined that the defendant does not have the ability to pay interest and it is ordered that:
      w
      -    the interest requirement is waived for the              g fine     g       restitution

      o
      -    the interest requirement for the    g fine g restitution is modified as follows:
           *Findings for the total amount of losses are requiredunder Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed
           on or after September 13, 1994, but before April 23, 1996.
                Case 4:05-cr-40049-JPG                         Document 119 Filed 05/08/06                                  Page 6 of 6              Page ID
                                                                         #271
A 0 24513   (Rcv 06105) Judgment i n a C r ~ m ~ nCase
                                                  al
            Sheer 6 S c h e d u l e of Payments
                                                                                                                                 Judgment     Page               of          6
DEFENDANT:                     REBECCA S, RILEY
CASE NUMBER:                   05-40049-003-JLF

                                                             SCHEDULE OF PAYMENTS

Flaviug assessed the defeudaut's ability to pay. payment of the total crimtual monetary peualties are due as follows:

A     g     Lump sum payment of S                                        due immediately, balauce due

            0
            -      uot later that1                                            , or
            U
            -      in accordauce             g C,         g D,           g       E, or      g F below; or
B     g     Paymet~tto begit1 immediately (may be combitled with                         r; C,         -
                                                                                                       0 D, or         g F below); or
C     g     Paymetlt it1 equal                    (e.g., weekly, mouthly, quarterly) it~stallmet~ts
                                                                                                 of $                      over a period of
                           (e.g., mouths or years), to commetlce               (e.g., 30 or 60 days) after the date of this judgmeut; or

D     g     Paymetlt it1 equal                    (e.g., weekly, mouthly, quarterly) tustallmet~tsof $                     over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisoument to a
            term of supervisiou; or

E     g     Paymeut duriug the term of supervised release will commence withi11                (e.g., 30 or 60 days) after release from
            imprisonmet~t.The court will set the paymeut plau based on an assessment of the defendant's ability to pay at that titue; or

F     -     Special it~structiot~s
                                regardiug the paymeut of crimiual motletary peualties:
            I'a!~l~cllt~    arc .Iuc ~ ~ i ~ ~ ~ l c . ltllr,lu;h
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Uuless the court has express1 ordered otherwise, if this judgmeut imposes imprisonmeut, a eutof crimit~almonetarypet~alties
                                                                                                                          is due duriu
imprisoument. All crtmitlaf mouetar penalties, except those payments made througR t c ~ e d e r a Bureau
Responsibility Program, are made to tKe clerk of the court.
                                                                                                   l      of Prisous' Illmate Finallcia                                            'i
The defeudaut shall receive credit for all payments previously made toward ally criminal motletary peualties imposed



0
-     Joint aud Several

      Defettdant aud Co-Defeudaut Names aud Case Numbers (including defendant number), Total Amouut, Joiut aud Several Amount,
      aud correspot~dit~g
                        payee, if appropriate.




0
-     The defendat~tshall pay the cost of prosecutiou.
0
-      The defendant shall pay the followit~gcourt cost(s):
0
-     The defeudaut shall forfeit the defendaut's iuterest in the followit~gproperty to the Uuited States:



Paymeuts shall be applied it1 the followit~gorder: (1 assessmetlt, (2) restitutiou priucipal, (3) reshtutiotl iuterest, (4) fiue priucipal,
(5) title iuterest, (6) commuuity restitutiou, (7) petla)ties, aud (8) costs, tncludittg cost of prosecutton and court costs.
